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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



   IN RE MORGAN STANLEY SMITH
                                                                    Civ. No. 2:11-3121
   BARNEY LLC WAGE AND HOUR
   LITIGATION
                                                                        OPINION
   MDL 2280




          WILLIAM J. MARTINI, U.S.D.J.:

          Plaintiffs Jimmy Kuhn, Nick Pontilena, Howard Rosenblatt and Denise Otten
  (collectively “Plaintiffs”) bring this putative collective action under the Fair Labors
  Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., and three putative wage and hour class
  actions against Defendants Morgan Stanley Smith Barney LLC and Morgan Stanley & Co.,
  Inc. (together “MSSB”). This matter comes before the Court on MSSB’s motion for
  summary judgment pursuant to Federal Rule of Civil Procedure 56 and Plaintiffs’ motion
  to strike portions MSSB’s response to Plaintiffs’ counterstatement of facts. There was no
  oral argument. Fed. R. Civ. P. 78(b). For the reasons set forth below, MSSB’s motion for
  summary judgment is GRANTED and Plaintiffs’ claims are DISMISSED WITH
  PREJUDICE. Plaintiffs’ motion to strike is DENIED as moot.

     I.     BACKGROUND
         MSSB is a financial services firm focused on providing financial advisory services
  and selling various investment products to a large and diversified clientele. See Op. 1, ECF
  No. 146. Plaintiffs worked for MSSB for varying durations as Financial Advisors (“FAs”).
  On May 31, 2011, Plaintiff Pontilena filed a class and collective action complaint in this
  Court, alleging that MSSB violated the FLSA by failing to pay overtime wages, and that it
  violated New Jersey law by failing to pay overtime wages, making impermissible
  deductions from employees’ wages and failing to maintain records. See Compl. ¶¶ 49–90,
  ECF No. 1. This Court subsequently consolidated Pontilena’s claims with similar claims
  emanating from Connecticut, New York and Rhode Island, creating a multidistrict class
  and collective action against MSSB, alleging ten counts in violation of the FLSA and
  various state labor laws. See Order, ECF No. 15; Am. Compl. ¶¶ 60–160, ECF No. 17.
  During the ensuing litigation, the Court dismissed all of Plaintiffs’ claims except for the
  FLSA overtime claim and the Connecticut, New Jersey and New York overtime claims.
  See Ops., ECF Nos. 31, 56, 75; Third Am. Compl. (the “Complaint”) ¶¶ 53–80, 91–115,
  ECF No. 74. On April 11, 2016, the Court denied Plaintiffs’ motion for class action and

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  conditional collective certification. See ECF No. 146. Consequently, Plaintiffs’ individual
  overtime claims are all that remain before the Court.
          MSSB now moves for summary judgment on Plaintiffs’ remaining overtime claims,
  arguing: (1) the FLSA claim fails because Plaintiffs satisfied the administrative exemption
  (hereinafter “the Exemption”), see Defs.’ Mem. of Points & Authorities in Supp. of Mot.
  for Summ. J. (“Defs.’ Mem.”) 9–26, ECF No. 155-1; (2) Plaintiffs Otten, Pontilena and
  Kuhn also satisfied the highly compensated exemption, see id. at 26–28; (3) Plaintiffs
  Pontilena and Kuhn’s FLSA claims are time barred, see id. at 28–29; and (4) the
  administrative exemptions under the three state laws mirror the FLSA and Plaintiffs are,
  therefore, exempt under state law for the same reasons as they are under the FLSA, see id.
  at 29–30. Plaintiffs oppose the application of the Exemption, countering that genuine
  issues of material fact exist as to the following: (1) whether Plaintiffs were paid the required
  minimum salary of $455 per week, see Pls.’ Opp’n to Defs.’ Mot. for Summ. J. (“Pls.’
  Opp’n”) 4–6, ECF No. 159; (2) whether Plaintiffs’ primary duty at MSSB was the
  performance of office or non-manual work directly related to MSSB’s management or
  general business operations, see id. at 6–36; and (3) whether Plaintiffs exercised discretion
  and independent judgment to significant matters, see id. at 36–39. Plaintiffs also contest
  MSSB’s other claims concerning the highly compensated exemption, the statute of
  limitations, and the state labor laws at issue. See id. at 39–43. MSSB filed a reply brief on
  December 15, 2016. See Defs.’ Reply in Supp. of Mot. for Summ. J. (“Defs.’ Reply”),
  ECF No. 161. Shortly thereafter, Plaintiffs’ filed a separate motion to strike portions of
  MSSB’s objections to Plaintiffs’ counterstatement of facts. See Pls.’ Mot. to Strike, ECF
  No. 162. The Court will address both motions in the instant opinion.
          The record before the Court consists primarily of deposition testimony given by the
  Plaintiffs and MSSB’s corporate representative, MSSB’s responses and objections to
  Plaintiffs’ requests for admission, MSSB internal documents and emails, Plaintiffs’ pay
  stubs and tax documents, and two third-party news articles. See Decls., ECF Nos. 155-4,
  156-2 (filed under seal), 160, 161-2. The parties purport to disagree over which facts are
  in dispute, but the Court finds that their disagreements mainly concern the legal
  significance of the facts and not what the facts actually are. After full review of the record,
  the Court finds the following facts to be relevant and undisputed:
     1. At all relevant times, Plaintiffs maintained a Series 7 license as required by the
        Financial Industry Regulatory Authority (“FINRA”). Pls.’ Counterstatement of
        Material Facts Not in Dispute (“Pls.’ Counterstatement”) ¶¶ 7–10, ECF No. 159-1.
     2. At all relevant times, Plaintiffs complied with FINRA Rule 2090, Know Your
        Customer (the “KYC Rule”), with respect to the establishment of new client
        accounts and management thereafter. Id. at ¶ 11; Otten Dep. 53:18–24; Pontilena
        Dep. 33:14–35:9; Kuhn Dep. 66:14–22; Rosenblatt Dep. 82:6–18.
     3. In compliance with the KYC Rule, Plaintiffs engaged each new client in the
        following manner: ascertained and analyzed the client’s financial status; discussed
        the client’s financial goals, risk tolerance and overall knowledge of the financial

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          industry; evaluated the client’s entire financial picture in light of the information
          received, including performing an asset allocation analysis; identified specific
          financial products that best fit the client’s specific needs; made investment
          recommendations to the client; and, upon client’s direction, invested assets
          accordingly. Otten Dep. 54:14–58:22; Pontilena Dep. 35:10–40:1; Kuhn Dep.
          69:5–73:15; Rosenblatt Dep. 81:1–82:18.
      4. In compliance with the KYC Rule, Plaintiffs also monitored their existing clients’
         accounts on a continual basis to ensure that performance met expectations and
         altered investment strategies as necessary to respond to their clients’ changing
         needs. Otten Dep. 78:15–79:15; Pontilena 40:2–41:8; Kuhn Dep. 71:8–72:6;
         Rosenblatt 86:11–88:8.
      5. In making investment recommendations, Plaintiffs provided their clients with
         multiple options with which to invest, often selecting from hundreds of financial
         products provided by MSSB based on each client’s financial picture. See Otten
         Dep. 58:4–22; Pontilena Dep. 38:3–12; Kuhn Dep. 72:18–73:15, 75:6–7; Rosenblatt
         Dep. 106:5–22.
      6. Plaintiffs researched economic developments, market movements and other current
         events to help inform the recommendations they made to their clients. Otten Dep.
         58:18–22, 59:24–61:1; Pontilena Dep. 70:25–71:12; Kuhn Dep. 79:20–80:8;
         Rosenblatt Dep. 100:4–10.
      7. Plaintiffs made their investment recommendations in the best interest of their
         clients. Otten Dep. 58:14–17; Pontilena Dep. 38:13–23; Kuhn Dep. 67:12–18;
         Rosenblatt Dep. 102:3–9.
      8. Plaintiffs never spent more than one hour of their time during a work-day executing
         purchases and sales for their clients’ portfolios. Otten Dep. 159:13–160:14;
         Pontilena Dep. 75:6–76:14; Kuhn Dep. 86:16–87:11; Rosenblatt Dep. 113:5–9.
      9. Plaintiffs were supervised by branch managers. Plaintiffs’ interactions with their
         supervisors concerning work-related matters varied, the frequency of which ranged
         from daily to sparse. Otten Dep. 157:17–158:22; Pontilena Dep. 109:11–110:13;
         Kuhn Dep. 75:22–76:13, 184:14–185:9; Rosenblatt Dep. 150:11–18.
      10. With very few exceptions, Plaintiffs did not require pre-approval from their
          supervisors to execute purchases and sales on behalf of their clients. Otten Dep.
          152:25–153:4; Pontilena Dep. 110:14–111:3; Kuhn Dep. 114:14–115:5; Rosenblatt
          Dep. 149:11–150:10.
      11. Plaintiffs undertook various marketing activities designed to ascertain new clients,
          including “cold” and “warm” calling prospect leads1 and hosting seminars and client
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   Plaintiff Pontilena described the difference between “cold calling” and “warm calling” in the following way: “Warm
  calling is where you might know somebody, know who they are, but not ever approach them for business. So, you
  call somebody that you know through someone or what have you, and you just, you know, try to get a business
  appointment from that, as opposed to cold calling, where, you know, you’re totally cold, and you don’t know who

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            dinners. Otten Dep. 108:18–109:22, 120:22–24, 122:10–14; Pontilena Dep. 48:7–
            49–22; Kuhn Dep. 56:13–23, 81:7–83:16; Rosenblatt Dep. 65:5–16, 82:19–83:5.
      12. At all relevant times, Plaintiffs were paid a minimum of $1,972.00 in monthly
          compensation. Plaintiffs did not receive incentive-based compensation until their
          gross revenues exceeded their minimum monthly compensation. See Palmerini
          Decl. at ¶ 8, Ex. A; Liskow Decl., Ex. 1 at MS-006426; Otten Dep. 186:9–187:5;
          Pontilena Dep. 91:8–93:3; Kuhn Dep. 179:14–184:3; Rosenblatt Dep. 117:15–
          120:8.

      II.      LEGAL STANDARD
         Federal Rule of Civil Procedure 56 provides for summary judgment “if the movant
  shows that there is no genuine dispute as to any material fact and the movant is entitled to
  judgment as a matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S.
  317, 322-23 (1986); Turner v. Schering-Plough Corp., 901 F.2d 335, 340 (3d Cir. 1990).
  A factual dispute is genuine if a reasonable jury could find for the non-moving party, and
  is material if it will affect the outcome of the trial under governing substantive law.
  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court considers all
  evidence and inferences drawn therefrom in the light most favorable to the non-moving
  party. Andreoli v. Gates, 482 F.3d 641, 647 (3d Cir. 2007).

      III.     DISCUSSION
          Despite their attempts to create other disputes, the parties’ papers reveal that there
  is truly only one issue before the Court: whether Plaintiffs’ primary duty as FAs consisted
  of sales activity or whether that duty amounted to exempt activity as defined by regulatory
  guidance. Before turning to that issue, however, the Court will first address Plaintiffs’
  motion to strike because it seeks to constrain what the Court may consider at summary
  judgment.
               A. Plaintiffs’ Motion to Strike
         Plaintiffs moved to strike portions of MSSB’s Objections and Responses to
  Plaintiffs’ Counterstatement of Facts (“MSSB’s Responses”) that violate Local Civil Rule
  56.1. Specifically, Plaintiffs argue that Local Rule 56.1 only allows MSSB to respond to
  Plaintiffs’ supplemental statement of facts and prohibits any contest to Plaintiffs’ responses
  to MSSB’s statement of undisputed facts. Pls.’ Mot. to Strike at 2. Furthermore, Plaintiffs
  argue that MSSB’s Responses are laced with impermissible legal argument, which the
  Court should not consider. Id. at 2–3.
         While the Court agrees that MSSB’s Responses contain some impermissible
  content, Plaintiffs’ motion to strike is unnecessary. The Court is “empowered to disregard
  those portions of a Rule 56.1 statement that violate the rule.” See Ill. Nat’l Ins. Co. v.
  Wyndham Worldwide Operations, Inc. 85 F. Supp. 3d 785, 792 (D.N.J. 2015). The Court,

  you’re talking to.” Pontilena Dep. 51:9–16.

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  therefore, “will sort out the permissibility of particular items [of both parties’ statements]
  if and as necessary to [its] analysis.” See id. Accordingly, Plaintiffs’ motion to strike is
  DENIED as moot.
            B. The FLSA Administrative Exemption
         The Exemption applies to any employee:
          (1) Compensated on a salary or fee basis at a rate of not less than $455 per
              week . . . exclusive of board, lodging or other facilities;
          (2) Whose primary duty is the performance of office or non-manual work
              directly related to the management or general business operations of
              the employer or the employer’s customers; and
          (3) Whose primary duty includes the exercise of discretion and
              independent judgment with respect to matters of significance.
  See 29 C.F.R. § 541.200(a) (2016).
         Further explanation of the above criteria can be found elsewhere in the regulations.
  Relevant to the instant case, the “primary duty” requirement means that “an employee must
  perform work directly related to assisting with the running or servicing of the business, as
  distinguished, for example, from working on a manufacturing production line or selling a
  product in a retail or service establishment.” See § 541.201(a). Additionally, a primary
  duty may include “employees acting as advisers or consultants to their employer’s clients
  or customers (as tax experts or financial consultants, for example) . . . .” See § 541.201(c).
  The regulations identify factors to consider when determining an employee’s primary duty,
  including, but not limited to: (1) the relative importance of the exempt duties as compared
  to other types of duties; (2) the amount of time spent performing exempt work; and (3) the
  employee’s relative freedom from direct supervision. See § 541.700(a). “[E]mployees
  who spend more than 50 percent of their time performing exempt work will generally
  satisfy the primary duty requirement,” but time alone “is not the sole test.” See §
  541.700(b).
         The “discretion” requirement is further explained as involving “the comparison and
  the evaluation of possible courses of conduct, and acting or making a decision after the
  various possibilities have been considered.” See § 541.202(a). Moreover, “[t]he exercise
  of discretion and independent judgment implies that the employee has the authority to make
  an independent choice, free from immediate direction or supervision. However, employees
  can exercise discretion and independent judgment even if their decisions or
  recommendations are reviewed at a higher level.” See § 541.202(c).
       The regulations contemplate specific examples of the types of employees who are
  exempt, including such employees in the financial services industry:
          Employees in the financial services industry generally meet the duties
          requirements for the administrative exemption if their duties include work
          such as collecting and analyzing information regarding the customer’s

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             income, assets, investments or debts; determining which financial
             products best meet the customer’s needs and financial circumstances;
             advising the customer regarding the advantages and disadvantages of
             different financial products; and marketing, servicing or promoting the
             employer’s financial products. However, an employee whose primary
             duty is selling financial products does not qualify for the administrative
             exemption.
  Sec. 541.203(b).
                         i. The Department of Labor Opinion Letter
           In November 2006, the U.S. Department of Labor (“DOL”) published an opinion
  letter (the “Letter”) that specifically addressed whether FAs meet the Exemption. Dep’t of
  Labor, Wage & Hour Div., Op. Ltr. Fair Labor Standards Act (“Op. Ltr.”), No. FLSA2006-
  43, 2006 WL 3832994 (Nov. 27, 2006). 2 In this definitive piece of guidance, the DOL
  considered the applicability of the Exemption to a job description identical to what
  Plaintiffs described in their deposition testimonies. Compare id. at *1–2 (describing FAs’
  primary duty as collecting clients’ financial information, analyzing it, comparing and
  evaluating possible investment options and identifying investment strategies to meet
  clients’ needs), with Otten Dep. 54:14–58:22 (describing Plaintiff’s adherence to the KYC
  Rule), and Pontilena Dep. 35:10–40:1 (same), and Kuhn Dep. 69:5–73:15 (same), and
  Rosenblatt Dep. 81:1–82:18 (same). The DOL concluded:
             [FAs] have a primary duty other than sales, because their work includes
             collecting and analyzing a clients’ financial information, advising the
             client about the risks and the advantages and disadvantages of various
             investment opportunities in light of the client’s individual financial
             circumstances, and recommending to the client only those securities that
             are suitable for the client’s particular financial status, objectives, risk
             tolerance, tax exposure, and other investment needs. Based upon the
             foregoing, we conclude that these [FAs] satisfy the duties requirement
             under 29 C.F.R. § 541.203(b).
  Op. Ltr., 2006 WL 3832994 at *5.
         The DOL further concluded that FAs satisfied the discretion requirement because
  their duties “include evaluating the client’s individual financial circumstances and
  investment needs and assessing and comparing the alternatives before making
  recommendations for investment options to the client . . . .” Id. at *6. Finally, the DOL
  concluded that the FAs’ “salary/draw” compensation plan satisfied the salary requirement


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    The Letter refers to the employees in question as “registered representatives,” which includes varying job titles “such
  as account executives, broker-representatives, financial executives, financial consultants, financial advisors,
  investment professionals, and stockbrokers.” Id. at *1 (emphasis added). For convenience, the Court will refer to
  “registered representatives” as “FAs” in quoted text.

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  because “the FA at all times is guaranteed and receives not less than a predetermined
  amount that equals or exceeds the $455 minimum . . . .” See id. at *6–7.
                        ii. Judicial Applications of the Exemption
         Two courts have considered the precise issue before this Court at summary
  judgment: whether the Exemption applies to FAs. In Hein v. PNC Fin. Servs. Group, Inc.,
  the Eastern District of Pennsylvania held that the Exemption applied. 511 F. Supp. 2d 563,
  575 (E.D. Pa. 2007). The parties conceded that Plaintiff satisfied the salary and discretion
  requirements. Thus, the only question before the court was whether Plaintiff’s primary
  duty constituted sales or exempt activities. Id. at 571. Plaintiff spent approximately 50
  percent of his time on the phone, conducting what Plaintiffs in this case have described as
  “cold calling.” See id. at 568–69, 573. Plaintiff also performed tasks similar to those
  described by Plaintiffs in this case, including: research of particular financial instruments;
  learning clients’ assets, holdings and investment aims; recommending appropriate
  investments based on an individual client’s needs; implementing actual transactions; and
  generating new sales leads. See id. at 569.
         The court held that plaintiff satisfied the primary duty requirement. First, plaintiff’s
  most important task was to “make appropriate recommendations to clients, even if he did
  not realize a sale as a result.” See id. at 572. Second, while plaintiff spent some time
  processing actual transactions—i.e., non-exempt sales activity—the majority of his time
  was spent performing exempt duties, such as collecting and analyzing client information
  and recommending appropriate investments. See id. at 573–74. Importantly, “cold calling”
  was exempt activity, at least in part, because such calls were used to “elicit information
  about assets and investment goals,” which was considered administrative work under DOL
  regulations. See id. at 573. Third, plaintiff exercised independence and discretion because
  his supervisor did not directly review his recommendations to clients, attend client
  meetings, and listen to client phone conversations, among other reasons.3 See id. at 574.
          More recently, in Tsyn v. Wells Fargo Advisors, LLC, the Northern District of
  California similarly held that the Exemption applied. See No. 14-cv-2552, 2016 WL
  612926, at *11 (N.D. Cal. Feb. 16, 2016). As in Hein, plaintiffs’ activities in Tsyn mirrored
  those presented by Plaintiffs here.4 See id. at *6. The court deferred to the DOL’s Letter
  in finding that the pattern of plaintiffs’ work met the DOL’s description of the primary duty
  requirement: “one where analysis, judgment, and advice predominate, and where attendant
  sales are relatively ‘incidental.’” See id. at *9. Furthermore, the court rejected plaintiffs’
  argument that their primary duty constituted sales activity because their work was
  “ultimately motivated by the desire to sell financial products.” The court determined that



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    The court also considered a fourth factor, which was a comparison of plaintiff’s salary to that of a non-exempt
  employee. See id. at 574–75.
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    “They collected and analyzed clients’ financial information, assessed their particular needs, developed investment
  plans, advised clients about the benefits and drawbacks of different investments, and made suitable investment
  recommendations. They also marketed and promoted their services.” Id.

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  this “reductive characterization is at all levels inconsistent with longstanding regulation”
  and “with express regulatory guidance.” See id. at *11 (emphasis original).
          Plaintiffs in this case rely on Martin v. Cooper Elec. Supply Co., 940 F.2d 896 (3d
  Cir. 1991), and DOL Administrative Interpretation (“Interpretation”) No. 2010-1, in
  support of their argument that their primary duty was non-exempt sales activity. See Pls.’
  Opp’n at 7–14. Plaintiffs ignore, however, that the Court has already rejected their reliance
  on these authorities at the class and collective action certification phase. See ECF No. 146
  at 11, n.3. Notably, Cooper addressed individuals who sold electrical products and the
  DOL Interpretation addressed mortgage loan officers. Neither authority is on point here.
  See id. Instead, the Court will rely on the regulatory authority and case law that expressly
  address FAs. The Court finds that the DOL’s regulations provide the agency’s body of
  experience and informed judgment about the FLSA, which commands considerable
  deference. See Hein, 511 F. Supp. 2d at 570 (citation omitted). With this understanding,
  the Court will now apply the undisputed facts to the Exemption’s three requirements.
                  iii. Salary Requirement
         Plaintiffs do not deny that they received a minimum of $1,972.00 per month in
  compensation at all relevant times. See Pls.’ Counterstatement at ¶¶ 16–17. Rather, they
  argue that they were paid a “draw” on their commissions, which violated the Exemption’s
  salary requirement. See Pls.’ Opp’n at 4–6. In their own words, Plaintiffs acknowledged
  that they received commission payments only after their gross revenues exceeded their
  monthly “draws.” See Otten Dep. 187:2–5; Pontilena Dep. 91:8–93:3; Kuhn Dep. 179:14–
  184:3; Rosenblatt Dep. 118:5–120:8. Plaintiffs testified that if they did not produce enough
  gross revenues to cover their monthly “draws,” then their commissions would be reduced
  in subsequent months to cover the deficiency. See Otten Dep. 186:11–22; Pontilena Dep.
  90:5–9; Kuhn Dep. 182:4–17; Rosenblatt 117:3–9. Regardless of these commission
  reductions, however, Plaintiffs still received their “draws” every month. See Otten Dep.
  188:25–189:4; Pontilena Dep. 92:3–22; Rosenblatt Dep. 119:20–120:2 (“There was always
  an automatic deposit every two weeks.”).
          The DOL’s Letter makes clear that this compensation model meets the salary
  requirement. See Op. Ltr., 2006 WL 3832994, at *3, 6–7 (describing a “reconciliation
  process” between the salary/draw and fee/commission components of compensation and
  concluding that it meets the salary requirement). Plaintiffs’ characterization of their
  compensation as a “draw” is irrelevant. Plaintiffs received a predetermined amount of at
  least $1,972.00 per month at all relevant times, which clearly satisfies the requirement. See
  Palmerini Decl. at ¶¶ 4, 8, Ex. A. It is, therefore, undisputed that Plaintiffs’ compensation
  satisfied the salary requirement.
                   iv. Primary Duty
         Plaintiffs admit that they performed all of the tasks described in the regulations and
  the DOL’s Letter as exempt duties under the primary duty requirement. See Part I, supra,
  at 2–3 (Fact No. 3). Plaintiffs argue, however, that their performance of these tasks was


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  “incidental to sales” and that their primary duty as FAs was, therefore, the non-exempt sale
  of financial products. See Pls.’ Opp’n at 23–24.
          Plaintiffs’ argument mirrors that of the plaintiffs in Tsyn, which that court rejected
  as a “reductive characterization” that defies the regulations. See 2016 WL 612926, at *11.
  Plaintiffs attempt to convince this Court that Tsyn is inapplicable here because: (1) the facts
  in Tsyn were undisputed whereas Plaintiffs dispute the facts in the instant case; (2)
  Plaintiffs contend that their performance of exempt tasks was “part and parcel” of selling
  financial products whereas plaintiffs in Tsyn merely argued that their performance was
  “secondary” to selling; and (3) the Tsyn court erroneously rejected the DOL’s
  Interpretation because it concerned mortgage loan officers even though it was intended to
  apply broadly to all employees subject to the Exemption. See Pls.’ Opp’n at 30–31.
         The Court is not persuaded. First, the facts here, as in Tsyn, are undisputed. As
  noted, Plaintiffs’ own deposition testimonies unequivocally establish that they performed
  tasks identical to those described in the DOL’s Letter and in the Tsyn opinion. Second,
  Plaintiffs’ characterization that their performance of these tasks was “part and parcel” to
  selling financial products is irrelevant. The only relevant inquiry is whether their
  performance “directly related to the management or general business operations of the
  employer or the employer’s customers.” See 29 C.F.R. § 541.200(a)(2). Third, the Court
  has already concluded that the Interpretation upon which Plaintiffs rely is uninformative of
  whether Plaintiffs’ primary duty satisfies the Exemption. See ECF No. 146 at 11.
  Furthermore, even assuming that the DOL intended for it to apply broadly, that does not
  mean that the Interpretation was intended to apply to the financial services industry, where
  the DOL had already published an opinion expressly applying the Exemption to Plaintiffs’
  exact job description.
          The Court is more persuaded by the DOL’s Letter and the Tsyn and Hein opinions
  in applying the instant facts to the Exemption. In so doing, the Court concludes that
  Plaintiffs’ primary duty clearly satisfied the Exemption. While the time spent performing
  the exempt tasks may have varied among the Plaintiffs, they all admit that they spent no
  more than one hour per day performing the non-exempt task of processing transactions for
  their clients’ portfolios. See Otten Dep. 159:13–160:14; Pontilena Dep. 75:6–76:14; Kuhn
  Dep. 86:16–87:11; Rosenblatt Dep. 113:5–9; see also Hein, 511 F. Supp. 2d at 573–74
  (describing the processing of transactions as non-exempt). It is, therefore, undisputed that
  Plaintiffs spent the vast majority of their time performing exempt tasks, including
  collecting and analyzing a client’s financial information, advising the client about
  investment opportunities, and recommending financial products that are suitable to the
  client’s particular financial status. See Op. Ltr., 2016 WL 3832994, at *5. Furthermore,
  whatever amount of time Plaintiffs spent “cold” and “warm” calling, the Court finds that
  activity to constitute exempt “business development activities.” See id.; Hein, 511 F. Supp.
  2d at 573. Plaintiffs’ primary duty satisfied the Exemption.




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                    v. Discretion and Independent Judgment
          The undisputed facts also clearly establish that Plaintiffs exercised discretion and
  independent judgment. Plaintiffs’ attempts to create factual disputes to the contrary are
  unavailing. See Pls.’ Opp’n at 36–39. Plaintiffs testified that they had varying degrees of
  interaction with their supervisors, ranging from daily to sporadic interaction. See Part I,
  supra, at 3 (Fact No. 9). Regardless of the frequency, however, Plaintiffs admitted that
  they did not need preapproval from their supervisors to execute transactions on behalf of
  their clients, except in limited circumstances and on rare occasions. See id. (Fact No. 10).
  In making investment recommendations, Plaintiffs used their discretion and judgment in
  choosing from a “huge array” of MSSB financial products. See id. (Fact No. 5, Kuhn Dep.
  75:6–7). Finally, Plaintiffs’ supervisors did not directly oversee Plaintiffs’ client
  communications or recommendations. Otten Dep. 153:6–21, Pontilena Dep. 111:25–
  112:3; Kuhn Dep. 75:19–21; Rosenblatt Dep. 150:11–18.
          The DOL characterized the discretion requirement as involving “comparing and
  evaluating possible courses of conduct and acting or making a decision after the various
  possibilities have been considered.” Op. Ltr., 2016 WL 3832994, at *6. “The decisions
  made as a result of discretion and independent judgment may consist of recommendations
  for action rather than the actual taking of action.” Id. This is precisely what Plaintiffs did.
  It is an indisputable fact that Plaintiffs “evaluat[ed] the client’s individual financial
  circumstances and investment needs and assess[ed] and compar[ed] the alternatives before
  making recommendations for investment options to the client,” which satisfied the
  requirement. Id.
         In sum, MSSB has met its burden in showing that there is no factual dispute that
  Plaintiffs satisfied the Exemption, and MSSB was not required to pay them overtime
  wages. Accordingly, MSSB’s motion for summary judgment is GRANTED and Count I
  is DISMISSED WITH PREJUDICE.
                   vi. State Law Exemptions Are Not Materially Different from the FLSA
         Plaintiffs previously conceded that the exemption rules under the state statutes at
  issue do not materially differ from the FLSA. See Pls.’ Mem. of Law in Supp. of Mot. for
  Class Certification 13 n.4, ECF No. 124-1 (“The FLSA’s administrative exemption does
  not materially differ from those of the state wage and hour laws of New York, New Jersey
  and Connecticut.”). Plaintiffs now try to distinguish the New Jersey law from the FLSA
  by arguing that the New Jersey law did not adopt the FLSA’s version of the Exemption
  until September 6, 2011. Since Plaintiffs Otten and Pontilena filed their complaints before
  this date, they contend that the previous, more narrow version of the Exemption should
  apply. See Pls.’ Opp’n at 41–43.
         As MSSB correctly points out, however, the previous New Jersey law was modeled
  after federal regulations drafted prior to 2004. See Defs.’ Reply at 21. The DOL
  acknowledged in the Letter that the criteria of the Exemption were “substantially the same”
  in the 2004 revised regulations as they were under the prior rule. See Op. Ltr., 2016 WL


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  3832994, at *7. Thus, the outcome under either version of the Exemption “would be
  essentially identical.” See id. Furthermore, in its commentary addressing the 2011 revision
  to the New Jersey exemption, the New Jersey Department of Labor and Workforce
  Development clarified that any discrepancy between the New Jersey law and the FLSA
  after 2004 was an “oversight.” See 43 N.J.R. 2352(a). The Court, therefore, rejects
  Plaintiffs’ argument and finds that there is no material difference between the New Jersey
  and FLSA exemptions.
         The Court finds that Plaintiffs were exempt employees under New York, New
  Jersey and Connecticut law for the same reasons as they were under the FLSA.
  Accordingly, MSSB’s motion for summary judgment is GRANTED and all remaining
  counts are DISMISSED WITH PREJUDICE.5

      IV.      CONCLUSION
          For the reasons stated above, MSSB’s motion for summary judgment is GRANTED
  and all remaining claims are DISMISSED WITH PREJUDICE. Plaintiffs’ motion to
  strike is DENIED as moot. An appropriate order follows.



                                                                     /s/ William J. Martini
                                                                   WILLIAM J. MARTINI, U.S.D.J.


            Date: February 28, 2017




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    The Court does not need to reach MSSB’s remaining arguments because it finds that Plaintiffs are exempt under
  the FLSA and state law.

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